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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FROILAN CHAMORRO,                              §
                                               §
        Plaintiff,                             §     CIVIL ACTION NO.: 3:15-cv-00656-L
                                               §
V.                                             §
                                               §
STATE FARM LLOYDS,                             §
                                               §
        Defendant.                             §                 JURY DEMAND

                            JOINT NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 60 days from today, upon which

time Plaintiff will file the appropriate dismissal documents with the Court. Accordingly, the

parties ask the action, including any upcoming deadlines, be abated.

                                            Respectfully submitted,


                                            /s/ Jessica Taylor
                                            Jessica Taylor
                                            State Bar No.: 24013546
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                                            COUNSEL FOR PLAINTIFF

                                            *Signed with permission




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                                            And


                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson
                                            State Bar No.: 24029862
                                            Adrienne B. Hamil
                                            State Bar No.: 24069867
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                                            COUNSEL FOR DEFENDANT
                                            STATE FARM LLOYDS



                               CERTIFICATE OF SERVICE

        The undersigned certifies that on the 24th day of April 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and e-mail in
accordance with the Federal Rules of Civil Procedure:


        Via Electronic Filing and E-mail:
        Jessica Taylor
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                Counsel for Plaintiff



                                            /s/ Adrienne B. Hamil
                                            Adrienne B. Hamil




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